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                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           FAYETTEVILLE DIVISION



 CRIMINAL NO. 08-50026-007                USA v. JOSE BARRAGAN

 COURT PERSONNEL:                         APPEARANCES:

 Judge: JIMM LARRY HENDREN                Govt. KENNY ELSER

 Clerk: GAIL GARNER                       Deft. KRISTIN PAWLIK

 Reporter: THERESA SAWYER

                          SENTENCING MINUTE SHEET


      On this date the above named defendant appeared in person and
 with counsel for sentencing and is sworn.

       (X)   Inquiry made that defendant is not under influence of
             alcohol or drugs and is able to comprehend proceedings.
       (X)   Inquiry made whether defendant is under the care of a
             physician or taking any medication and is able to
             comprehend proceedings.
       (X)   Inquiry made that defendant is satisfied with counsel.
       (X)   Court determined that defendant and counsel have had
             opportunity to read and discuss presentence investigation
             report.
       (X)   Presentence investigation report reviewed in open court.
       (X)   Government moves for downward departure pursuant to
             5K1.1 - 2 level departure awarded by the court.
       (X)   Court expresses final approval of plea agreement.
       (X)   Counsel for defendant afforded opportunity to speak on
             behalf of defendant.
       (X)   Defendant afforded opportunity to make statement and
             present information in mitigation of sentence.
       (X)   Attorney for government afforded opportunity to make
             statement to court.
       (X)   Court proceeded to impose sentence as follows:

             30 months imprisonment; 3 years supervised release;
             $5,000.00 fine - interest waived
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 Criminal No. 08-50026-007



       (X)   Defendant ordered to comply with standard conditions of
             supervised release.
       (X)   Defendant ordered to comply with following special
             conditions of supervised release:

             Submit to inpatient/outpatient drug testing/treatment
             at direction of USPO.

             Submit to search of person, residence, vehicle,
             and place of employment at request of USPO.

       (X)   Defendant denied federal benefits for 5 years.
       (X)   Defendant ordered to pay total special assessment of
             $100.00, for count 5, which shall be due immediately.
       (X)   On motion of government counts 1, 3 & 4 of indictment
             are dismissed.
       (X)   Defendant advised of right to appeal sentence imposed.
       (X)   Defendant advised of right to apply for leave to appeal
             in forma pauperis.
       (X)   Appeal packet provided.
       (X)   Defendant remanded to custody of U.S. Marshal.



 DATE: JANUARY 23, 2009             Proceeding began: 3:40 PM

                                                  ended: 4:16 PM
